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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
PEDRO CHAMORRO,

                   Plaintiff,

       -against-                                     CASE NO.: 1:20-CV-6077-LJL

AMYRIS, INC., JOHN DOERR, GEOFFREY                   STIPULATION TO DISMISS
DUYK, PHILIP EYKERMAN, CHRISTOPH
GOPPELSROEDER, FRANK KUNG, JAMES
MCCANN, JOHN MELO, STEVE MILLS,
CAROLE PIWNICA, PATRICK YANG, and
LISA QI,

               Defendants.
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        The Parties agree that, pursuant to Federal Rules of Civil Procedure 4l(a)(l )(A)(ii), the

claims in the above-titled action (the "Action") are hereby dismissed as moot.

Dated this 12 th day of May, 2021.

M NTEVERDE & ASSOCIATES PC                        G�SON DUNN & CRUTCHER LLP


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